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2                                  UNITED STATES DISTRICT COURT

3                           FOR THE EASTERN DISTRICT OF CALIFORNIA

4
     UNITED STATES OF AMERICA,                               1:16-cr-00069-LJO-SKO
5
                             Plaintiff,                      ORDER DENYING DEFENDANT
6                                                            MONSON’S MOTION FOR
                       v.                                    RECONSIDERATION OF ORDER
7                                                            DENYING MOTION TO SUPPRESS
     JAMES YORK, et al.,                                     WIRETAPS AND VACATING
8                                                            HEARING
                             Defendants.
9                                                            (ECF No. 516)
10

11          The Court has reviewed Defendant Monson’s second motion for reconsideration of its order

12 denying Defendants’ motions to suppress the results of the wiretap interceptions in this case (ECF No.

13 516), the Government’s opposition (ECF No. 539), and Defendant’s reply (ECF No. 540). Several co-

14 defendants joined the motion. The Fresno Police Department report that forms the basis of Defendant’s

15 motion does not add anything to what was previously known, and therefore does not alter the Court’s

16 reasoning in its previous orders. See ECF Nos. 456, 492. Moreover, Defendant’s argument that the

17 absence of a statement about “pimping out” a female officer in the police report undermines probable

18 cause is incorrect because, as the Court previously indicated, there “was still sufficient probable cause to

19 intercept Monson’s communications even excluding his alleged statement about ‘pimping out’ a female

20 officer.” See ECF No. 492 at 3 n.3.

21          The motion is DENIED and the hearing, currently set for February 26, 2018 is VACATED.

22

23 IT IS SO ORDERED.

24      Dated:     February 15, 2018                         /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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